Case 5:05-cr-00207-KDB-DCK   Document 100   Filed 04/19/06   Page 1 of 6
Case 5:05-cr-00207-KDB-DCK   Document 100   Filed 04/19/06   Page 2 of 6
Case 5:05-cr-00207-KDB-DCK   Document 100   Filed 04/19/06   Page 3 of 6
Case 5:05-cr-00207-KDB-DCK   Document 100   Filed 04/19/06   Page 4 of 6
Case 5:05-cr-00207-KDB-DCK   Document 100   Filed 04/19/06   Page 5 of 6
Case 5:05-cr-00207-KDB-DCK   Document 100   Filed 04/19/06   Page 6 of 6
